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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                    CASE NUMBER:


   ARNOLDO JARA, et al.                                               2:17−cv−04598−ODW−RAO
                                                    Plaintiff(s),

            v.
   GC SERVICES LIMITED PARTNERSHIP, et al.
                                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                  Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                                         Clerk, U.S. District Court

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                                                            Deputy Clerk

   cc: Assigned District Judge and/or Magistrate Judge

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